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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

 MARK GRAHAM,
                                                   CV 23-53-H-BMM-KLD
                      Plaintiff,

 vs.                                               ORDER

 FARMERS INSURANCE
 EXCHANGE and MID-CENTURY
 INSURANCE COMPANY,

                      Defendants.

       Defendants Farmers Insurance Exchange and Mid-Century Insurance

Company move for the admission of Margaret M. Drugan to practice before this

Court in this case with Nathan A. Huey to act as local counsel. Ms. Drugan’s

application appears to be in order. Accordingly,

       IT IS HEREBY ORDERED that Defendants’ motion to admit Margaret

Drugan pro hac vice is GRANTED on the condition that Ms. Drugan shall do her

own work. This means that Ms. Drugan must do her own writing, sign her own

pleadings, motions, and briefs, and appear and participate personally. Counsel shall

take steps to register in the Court’s electronic filing system (“CM-ECF”). Further

information is available on the Court’s website, www.mtd.uscourts.gov, or from

the Clerk’s Office. Local counsel may move for the admission pro hac vice of one

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(1) associate of Ms. Drugan’s firm. Such associate, if duly admitted, shall be

authorized to participate in this case on the same terms and conditions as Ms.

Drugan.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Ms. Drugan, within fifteen (15) days of the date of this Order, files a pleading

acknowledging her admission under the terms set forth above.

             DATED this 4th day of December, 2024.


                                              ______________________________
                                              Kathleen L. DeSoto
                                              United States Magistrate Judge




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